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  B2100A (Form 2100A) (12/15)


                            United States Bankruptcy Court
                            _______________ District Of _______________
                                                         South Carolina

         Donna Sue Jordan
  In re ______________________________,                                     17-03746-jw
                                                                   Case No. ________________



                    TRANSFER OF CLAIM OTHER THAN FOR SECURITY
  A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a).
  Transferee hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the
  transfer, other than for security, of the claim referenced in this evidence and notice.

  U.S. BANK TRUST NATIONAL ASSOCIATION, AS                                     LPP Mortgage, Inc
  TRUSTEE OF THE BUNGALOW SERIES III TRUST
  ______________________________________                                      ____________________________________
             Name of Transferee                                                           Name of Transferor

  Name and Address where notices to transferee                                 Court Claim # (if known): 6-1
  should be sent:                                                              Amount of Claim: 131,361.79
  c/o BSI Financial Services                                                   Date Claim Filed: 11/27/2017
  1425 Greenway Drive, Ste 400
  Irving, TX 75038
         972-347-4350
  Phone: ______________________________                                       Phone: __________________________
                              4605
  Last Four Digits of Acct #: ______________                                                               4605
                                                                              Last Four Digits of Acct. #: __________

  Name and Address where transferee payments
  should be sent (if different from above):
  c/o BSI Financial Services
  314 S. Franklin Street, 2nd Floor
  Titusville, PA 16354
  Phone: _______________________________
  Last Four Digits of Acct #: _______________



  I declare under penalty of perjury that the information provided in this notice is true and correct to the
  best of my knowledge and belief.

     /s/ Michelle R. Ghidotti-Gonsalves
  By:__________________________________                                             7/5/2019
                                                                               Date:____________________________
          Transferee/Transferee’s Agent


  Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
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  B2100B (Form 2100B) (12/15)

                        United States Bankruptcy Court
                        _______________ District Of _______________
                                                     South Carolina


         Donna Sue Jordan
  In re ______________________________,                    17-03746-jw
                                                  Case No. ________________




       NOTICE OF TRANSFER OF CLAIM OTHER THAN FOR SECURITY
              6-1 (if known) was filed or deemed filed under 11 U.S.C. § 1111(a) in this case by the
  Claim No. _____
  alleged transferor. As evidence of the transfer of that claim, the transferee filed a Transfer of Claim
                                                                 7/5/2019 (date).
  Other than for Security in the clerk’s office of this court on ______



  Name of Alleged Transferor                                          Name of Transferee
  LPP Mortgage, Inc                                                   U.S. BANK TRUST NATIONAL ASSOCIATION, AS
                                                                      TRUSTEE OF THE BUNGALOW SERIES III TRUST


  Address of Alleged Transferor:                                      Address of Transferee:
   Cenlar, FSB                                                         c/o BSI Financial Services
   425 Phillips Boulevard                                              1425 Greenway Drive, Ste 400
   Ewing, NJ 08618
                                                                       Irving, TX 75038

                                ~~DEADLINE TO OBJECT TO TRANSFER~~
  The alleged transferor of the claim is hereby notified that objections must be filed with the court
  within twenty-one (21) days of the mailing of this notice. If no objection is timely received by the
  court, the transferee will be substituted as the original claimant without further order of the court.




  Date:_________                                                ______________________________
                                                                  CLERK OF THE COURT
